USCA Case #23-5154     Document #2010800       Filed: 08/02/2023   Page 1 of 42
                     Public Copy—Sealed Material Deleted

                [ORAL ARGUMENT NOT SCHEDULED]

                                 No. 23-5154


            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT



       IN RE ATTORNEY GENERAL MERRICK GARLAND, IN HIS
       OFFICIAL CAPACITY; UNITED STATES DEPARTMENT OF
     JUSTICE; FEDERAL BUREAU OF INVESTIGATION DIRECTOR
         CHRISTOPHER A. WRAY, IN HIS OFFICIAL CAPACITY;
               FEDERAL BUREAU OF INVESTIGATION,

                                               Petitioners.

  RESPONSE OF PETER STRZOK AND LISA PAGE IN OPPOSITION
       TO PETITION FOR A WRIT OF MANDAMUS TO THE
    U.S. DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


       Amy Jeffress                        Aitan D. Goelman
       Robert J. Katerberg                 Christopher R. MacColl
       Kaitlin Konkel                      ZUCKERMAN SPAEDER LLP
       ARNOLD & PORTER KAYE                1800 M Street, NW, Suite
       SCHOLER LLP                         1000
       601 Massachusetts Avenue NW         Washington, DC 20036
       Washington, DC 20001                (202) 778-1800
       (202) 942-5000                      agoelman@zuckerman.com
       Amy.Jeffress@arnoldporter.com       cmaccoll@zuckerman.com
       Robert.Katerberg@arnoldporter.com
       Kaitlin.Konkel@arnoldporter.com     Richard A. Salzman
                                           HELLER, HURON, CHERTKOF
                                           & SALZMAN PLLC
                                           1010 Wayne Ave., Suite 510
                                           Silver Spring, MD 20910
                                           (202) 293-8090
                                           salzman@hellerhuron.com
USCA Case #23-5154        Document #2010800          Filed: 08/02/2023   Page 2 of 42



   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel certifies as

follows:

      A.     Parties and Amici

      All parties, intervenors, and amici appearing before the district court and in

this Court are listed in the Petition.

      B.     Rulings Under Review

      References to the rulings at issue appear in the Petition.

      C.     Related Cases

      The case on review has not previously been before this Court. The rulings

under review were issued in Strzok v. Garland, Case No. 1:19-cv-2367 (D.D.C.),

Page v. U.S. Department of Justice, Case No. 1:19-cv-3675-TSC (D.D.C.), and In

re Subpoena Served on Donald J. Trump, 1:22-mc-27 (D.D.C.). Respondents are

not aware of any other related case within the meaning of Circuit Rule 28(a).



                                               s/ Aitan D. Goelman
                                               Aitan D. Goelman




                                          i
USCA Case #23-5154                  Document #2010800                       Filed: 08/02/2023              Page 3 of 42



                                         TABLE OF CONTENTS
                                                                                                                     Page

CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES ..............i

TABLE OF CONTENTS .......................................................................................... ii

TABLE OF AUTHORITIES ....................................................................................iv

INTRODUCTION AND SUMMARY ...................................................................... 1

STATEMENT ............................................................................................................ 5

I.       Procedural History ........................................................................................... 5

II.      Factual Background ......................................................................................... 9

             A. Defendants disclose Plaintiffs’ text messages to the press ................... 9

             B. Trump launches his campaign to destroy Plaintiffs’ reputations
                and get Strzok fired .............................................................................11

             C. Trump’s efforts succeed when the FBI reverses its independent
                disciplinary office’s suspension of Strzok in an unprecedented
                move ....................................................................................................15

REASONS FOR DENYING THE PETITION .......................................................18

I.       Defendants cannot meet the high bar of showing that the district
         court’s carefully tailored discovery orders amounted to a judicial
         usurpation of power ....................................................................................... 18

             A. The district court acted well within its authority to manage
                discovery matters .................................................................................18

             B. Mandamus is unavailable where, as here, there is no showing of
                irreparable harm ..................................................................................20

II.      It is not clear and indisputable that the “extraordinary circumstances”
         test applies .....................................................................................................23

             A. The former president was not the official decisionmaker, and
                the deposition is not about his deliberative process ............................24


                                                             ii
USCA Case #23-5154                 Document #2010800                      Filed: 08/02/2023            Page 4 of 42



             B. By declining to assert the privileges that safeguard the
                separation of powers, Defendants have effectively conceded
                that no separation-of-powers concerns exist .......................................25

             C. No binding precedent or persuasive authority clearly and
                indisputably establishes that extraordinary circumstances are
                required to depose a former official ....................................................26

III.     Regardless, extraordinary circumstances justify the limited deposition
         of Mr. Trump .................................................................................................29

CONCLUSION ........................................................................................................33

CERTIFICATE OF COMPLIANCE .......................................................................35

CERTIFICATE OF SERVICE ................................................................................36




                                                          iii
USCA Case #23-5154                Document #2010800                     Filed: 08/02/2023           Page 5 of 42



                                     TABLE OF AUTHORITIES

                                                                                                          Page(s)
Cases

Berry v. Dist. of Columbia,
 833 F.2d 1031 (D.C. Cir. 1987) ........................................................................... 20
Cheney v. U.S. Dist. Ct. for D.C.,
 542 U.S. 367 (2004) ................................................................................... 1, 18, 22
Cruz v. McAleenan,
 931 F.3d 1186 (D.C. Cir. 2019) ........................................................................... 31
Dep’t of Commerce v. New York,
 139 S. Ct. 2551 (2019) ......................................................................................... 25
Forsyth Cnty., Ga. v. Nationalist Movement,
 505 U.S. 123 (1992) ............................................................................................. 31
Illinois v. Ferriero,
  60 F.4th 704 (D.C. Cir. 2023) ................................................................................ 1
In re al-Nashiri,
  791 F.3d 71 (D.C. Cir. 2015) ............................................................................... 33
In re Cheney,
  406 F.3d 723 (D.C. Cir. 2005) ............................................................................... 1
In re Cheney,
  544 F.3d 311 (D.C. Cir. 2008) ..................................................... 18, 20, 25, 26, 32
In re Clinton,
  973 F.3d 106 (D.C. Cir. 2020) ............................................................................. 29
In re Exec. Off. of the President,
  215 F.3d 20 (D.C. Cir. 2000) ......................................................................... 20, 21
In re Flynn,
  973 F.3d 74 (D.C. Cir. 2020) ........................................................... 1, 2, 18, 21, 23
In re Kellogg Brown & Root, Inc.,
  796 F.3d 137 (D.C. Cir. 2015) ............................................................................. 21
In re Papandreou,
  139 F.3d 247 (D.C. Cir. 1998) ....................................................................... 21, 25
In re Sealed Case No. 98-3077,
  151 F.3d 1059 (D.C. Cir. 1998) ........................................................................... 21


                                                         iv
USCA Case #23-5154                 Document #2010800                     Filed: 08/02/2023            Page 6 of 42



In re Sealed Case,
  121 F.3d 729 (D.C. Cir. 1997) ............................................................................. 26
In re Stone,
  940 F.3d 1332 (D.C. Cir. 2019) ............................................................................. 1
In re U.S. Dep’t of Educ.,
  25 F.4th 692 (9th Cir. 2022) .............................................................. 22, 27, 28, 32
In re United States,
  542 F. App’x 944 (Fed. Cir. 2013) ................................................................ 27, 28
Lederman v. New York City Department of Parks and Recreation,
 731 F.3d 199 (2d Cir. 2013) ................................................................................. 27
Peoples v. Dep’t of Agriculture,
 427 F.2d 561 (D.C. Cir. 1970) ............................................................................. 25
Simplex Time Recorder Co. v. Secretary of Labor,
  766 F.2d 575 (D.C. Cir. 1985) ....................................................................... 24, 25
Staub v. Proctor Hosp.,
  562 U.S. 411 (2011) ............................................................................................. 31
Trump v. Mazars USA, LLP,
 39 F.4th 774 (D.C. Cir. 2022) .............................................................................. 28
United States v. Morgan,
 313 U.S. 409 (1941) ................................................................................. 24, 26, 27
Will v. United States,
 389 U.S. 90 (1967) ............................................................................................... 21

Other Authorities

Order, In re Murthy, No. 22-30697 (5th Cir. Jan. 5, 2023) .............................. 26, 32
Order, In re United States, No. 14-5146 (D.C. Cir. July 24, 2014).................. 31, 32
Office of the Inspector Gen., U.S. Dep’t. of Justice, A Review of Various
 Actions by the FBI and DOJ in Advance of the 2016 Election
 (June 2018) ............................................................................................... 11, 13, 14
Dep’t of Justice Office of the Inspector Gen., Review of the Federal Bureau of
 Investigation’s Adjudication Process for Misconduct Investigations, 21-127
 (September 2021) ................................................................................................. 16




                                                          v
USCA Case #23-5154        Document #2010800            Filed: 08/02/2023     Page 7 of 42



                       INTRODUCTION AND SUMMARY

      The government fails to make the extraordinary showing required for

mandamus relief. A mandamus petition must be denied unless: (1) the petitioner

satisfies its “burden of showing that [its] right to issuance of the writ is ‘clear and

indisputable’”; (2) “the issuing court, in the exercise of its discretion, [is] satisfied

that the writ is appropriate under the circumstances”; and (3) the petitioner has “no

other adequate means to attain the relief.” Cheney v. U.S. Dist. Ct. for D.C., 542

U.S. 367, 380-81 (2004).1 “[M]andamus is ‘drastic’; it is available only in

‘extraordinary situations’; [and] it is hardly ever granted.” In re Cheney, 406 F.3d

723, 729 (D.C. Cir. 2005).

      The basis of Defendants’ Petition—that Judge Amy Berman Jackson clearly

abused her discretion in permitting the limited deposition of Mr. Trump—finds no

support in the record. The district court issued a series of careful, well-founded

rulings in deciding whether to authorize the deposition of Mr. Trump, an important

third-party witness with unique knowledge of the events. The court required

Plaintiffs to describe with specificity each topic on which they would question Mr.

Trump, allowed the government ample time to consider and object to these topics,




1
  See also Illinois v. Ferriero, 60 F.4th 704, 713-14 (D.C. Cir. 2023); In re Stone,
940 F.3d 1332, 1338 (D.C. Cir. 2019); In re Flynn, 973 F.3d 74, 78 (D.C. Cir. 2020)
(en banc).

                                            1
USCA Case #23-5154       Document #2010800          Filed: 08/02/2023    Page 8 of 42



and provided an opportunity for the government to assert executive privileges

before the deposition. The government declined to assert those privileges. The

court concluded that Mr. Trump has unique personal knowledge and authorized a

two-hour deposition limited to the narrow set of topics it had approved. It also

required Plaintiffs to depose every other relevant witness first. These rulings—

issued over the course of nearly a year—fall squarely within the appropriate

bounds of the district court’s authority to manage discovery, and Defendants cannot

show that they have a “clear and indisputable” entitlement to the writ or that “the

writ is appropriate under the circumstances.”

      The Petition fails on an additional ground: Defendants cannot show that Mr.

Trump’s deposition will cause irreparable harm to the executive branch, a

prerequisite to the drastic remedy of mandamus. When “ordinary appellate review

… remains available, the writ may not issue unless the petitioner identif[ies] some

irreparable injury that will go unredressed if he does not secure mandamus relief.”

In re Flynn, 973 F.3d at 79 (quotation omitted). But Defendants identify no harm

whatsoever to the executive branch—let alone irreparable harm that cannot be

corrected on appeal—that would result from permitting Mr. Trump, a former

official whose testimony does not implicate executive privilege, to testify for two

hours on the narrow set of topics approved by the district court. Absent irreparable

harm, the extraordinary remedy of mandamus is unavailable, and ordinary



                                          2
USCA Case #23-5154       Document #2010800           Filed: 08/02/2023    Page 9 of 42



appellate procedures provide “adequate means” to review a district court’s

interlocutory discovery orders.

      Because the Petition fails on multiple grounds, the Court need not reach the

merits of Defendants’ “extraordinary circumstances” arguments. If the Court is

inclined to address those arguments, however, the Petition fails there as well.

There is no rule, much less a clear and indisputable rule, requiring “extraordinary

circumstances” to depose a former high-ranking official when the purpose of the

deposition is not to determine the official’s deliberative process in making a

decision within his purview, but to determine whether (as Mr. Trump has

repeatedly boasted) the official injected himself into a personnel matter to retaliate

against a civil servant. Although the Petition gestures towards separation-of-

powers concerns, those gestures have little force given Defendants’ admission that

Mr. Trump’s testimony implicates neither the presidential communications

privilege nor the deliberative process privilege. Dkt. 108.2 Moreover, Mr. Trump

has not sought to block this deposition, and he has demonstrated through his

private conduct—including the filing of a lawsuit against Mr. Strzok and Ms.




2
 Except where otherwise noted, docket numbers reference Strzok v. Garland, Case
No. 1:19-cv-2367-ABJ. Ms. Page’s case, Page v. U.S. Dep’t. of Justice, Case No.
1:19-cv-3675-TSC (Page), is consolidated with Strzok’s case for purposes of
discovery.

                                          3
USCA Case #23-5154      Document #2010800           Filed: 08/02/2023    Page 10 of 42



Page—that he has sufficient time and energy to devote to these matters. See Trump

v. Clinton, Case No. 22-cv-14102 (S.D. Fla.); Case No. 22-13410 (11th Cir.).

      Regardless, the district court had ample basis to find that this case presents

extraordinary circumstances. As it explained, Mr. Trump’s “own contemporaneous

and recent statements regarding his role” show that his testimony is “likely to lead

to relevant evidence that can’t be obtained elsewhere.” Feb. 23, 2023, Hr’g Tr. 13,

A19. These statements include interviews in which he “publicly boasted of his

involvement” in Mr. Strzok’s termination. July 6, 2023, Minute Order. Mr.

Trump’s involvement is likewise reflected in a documented meeting with then-

Attorney General Sessions in February 2018, in which he talked about “firing [the]

love birds,” as well as testimony from then-White House Chief of Staff John Kelly

that Trump made statements indicating his desire to see the FBI fire Strzok. See

Kelly Decl. ¶¶ 1, 7, Dkt. 115-1 at 16-17 of 30. Similarly, contemporaneous news

accounts reported that Trump met with both Sessions and FBI Director Wray to

lobby for Strzok’s firing. And his involvement is reflected in an extensive record

of public statements in which he attacked Plaintiffs and excoriated the FBI for not

yet having fired Strzok. There is also a wealth of circumstantial evidence that

Trump’s conduct influenced the FBI leadership, notwithstanding their

unremarkable (and unconvincing) denials.




                                          4
USCA Case #23-5154      Document #2010800            Filed: 08/02/2023    Page 11 of 42



      In short, the district court acted well within its authority in permitting

Plaintiffs to depose Mr. Trump, for two hours, about his own knowledge and

actions as they relate to Plaintiffs’ claims. The Petition should be denied.

                                   STATEMENT

I.    Procedural History

      Mr. Strzok filed his Complaint in August 2019, asserting that the FBI

violated his First and Fifth Amendment rights when it acceded to Mr. Trump’s

demands and fired him in part because of his political viewpoint and in violation of

its established processes. Compl., Dkt. 1. Mr. Strzok also alleged that, in late

2017, Defendants violated the Privacy Act when they disclosed to the press text

messages that Plaintiffs had exchanged on their FBI-issued cell phones. See id.

Ms. Page filed a separate action in December 2019, likewise alleging that

Defendants violated the Privacy Act. Page Compl. In September 2020, the district

court denied Defendants’ dispositive motions and directed the parties to proceed to

discovery. Sept. 25, 2020, Minute Order.

      Plaintiffs have not sued Mr. Trump, and Mr. Trump has not attempted to

block his deposition. Counsel served a deposition subpoena dated November 26,

2021, through Mr. Trump’s attorney. Defendants moved to quash in the Southern

District of New York, and that motion was transferred to the District of Columbia




                                           5
USCA Case #23-5154      Document #2010800           Filed: 08/02/2023    Page 12 of 42



with Mr. Trump’s consent to the transferee court’s jurisdiction. Dkt. 5, Case No.

1:22-mc-27.

      On August 10, 2022, the district court issued a detailed ruling requiring

Plaintiffs to depose former Associate Deputy Attorney General Scott Schools and

former Deputy Attorney General Rod Rosenstein before deposing Director Wray

and former President Trump. See Aug. 10, 2022, Minute Order. The district

court’s order required Plaintiffs to identify the questions they proposed to ask Mr.

Trump and Director Wray, required the government to inform the court whether it

would assert executive privilege, and required the parties to brief the executive

privilege issues. Id.

      Defendants initially declined to ascertain “if the current President is going to

assert executive privilege in all of the future depositions.” Aug. 10, 2022, Hr’g Tr.

13, Dkt. 86. Instead, they filed a notice on October 18, 2022, that informed the

district court what they would “likely” do in the “first instance” given the

“‘presumptive privileged nature’ … to preserve the President’s ability to perfect

the privilege.” Dkt. 94 at 1.

      On February 23, 2023, the district court held a second conference on the

motions to quash. Based on a thorough review of the record, including relevant

depositions taken since the first hearing, the court determined “that the case

presents extraordinary circumstances.” Feb. 23, 2023, Hr’g Tr. 11-12, A17-18.



                                          6
USCA Case #23-5154      Document #2010800            Filed: 08/02/2023    Page 13 of 42



The court—drawing on a deep knowledge of the facts—concluded that

extraordinary circumstances justified a limited deposition of former President

Trump. Those extraordinary circumstances included not only “the President’s own

contemporaneous and recent statements concerning his role” and the conflict

between those statements and the existing testimony, but also that:

             [T]he firing decision was made at the highest level of the
             Department immediately under Director Wray, that it
             varied from the procedure that had been established and
             allegedly varied from agency regulations, that it varied
             from the decision of the officially designated decision
             maker, and that it varied from an agreement offered to and
             accepted by the plaintiff, and the fact that the proposed
             questions … as [the Court planned to] narrow them[], will
             not probe the operations or decisions made by the FBI,
             other than with respect to this one employment decision.

Id. 12-13, A18-19.

      The district court limited the deposition topics to several key issues that are

indisputably relevant to Plaintiffs’ claims, explaining that this tailored approach

would “ameliorate the potential impact on people being willing to work in the

government in the future.” Id. 14, A20. Specifically, the court limited Plaintiffs to

two hours of questioning regarding:

           Discussions at three meetings on or about January 22 and 23, and June
            15, 2018, related to “the text messages between the two plaintiffs or




                                          7
USCA Case #23-5154       Document #2010800           Filed: 08/02/2023    Page 14 of 42



              the two plaintiffs in general, disciplining them, investigating them, et
              cetera.” Id. 14-15, A20-21.3

           Mr. Trump’s “own public statements and communications about the
            plaintiffs between December 2nd, 2017” and the present, “as well as
            any related communications about his statements with the Department
            of Justice or the FBI.” Id. 15-16, A21-22.

           Whether Mr. Trump “retained the text messages, where he got them,
            what he did with them.” Id. 16, A22.

      The district court explained that its rulings were “not privilege rulings,” id.

15, A21, and granted Defendants an additional month to ascertain whether

President Biden would assert executive privilege. In March 2023, Defendants

notified the court that “[t]he Executive Office of the President will not assert the

Presidential Communications Privilege, and Defendants will not assert the

Deliberative Process Privilege, with respect to the authorized topics.” Dkt. 108.

      Plaintiffs then engaged in a lengthy discussion with Mr. Trump’s attorneys

to find a workable deposition date. On May 10, 2023, Mr. Trump and Plaintiffs

agreed to hold his deposition on May 24, 2023. See Dkt. 111-1 at 11 of 31. The

next day, Defendants moved the district court to reconsider its February 23, 2023,

order, and requested that Director Wray’s deposition proceed before Mr. Trump’s


3
 The district court used slightly different phrasing in addressing the January 23
and June 15 meetings, but it likewise limited the topics to discussion of “the
plaintiffs.” Plaintiffs were unaware of the February 21, 2018, and July 23, 2018,
meetings identified by General Kelly’s notes at the time of the February 23, 2023,
conference, but Plaintiffs believe those meetings fall within the permitted topics as
described in the district court’s order and Plaintiffs’ filings. Dkt. 89, 105.

                                           8
USCA Case #23-5154      Document #2010800           Filed: 08/02/2023    Page 15 of 42



deposition, notwithstanding Wray’s ongoing responsibilities. Dkt. 110. The

district court ordered the parties to conduct Wray’s deposition first and complete it

by June 2, even though “it was Director Wray, the only current high-ranking public

official in the group of proposed deponents, whose ongoing essential duties fell

most squarely under the protection of the doctrine in question.” See May 12 and

15, 2023, Minute Orders. Defendants successfully sought to postpone Director

Wray’s deposition to June 27, 2023, see May 22, 2023, Minute Order, and,

following the Wray deposition, again moved for reconsideration as to the Trump

deposition, Dkts. 115-16. The district court denied that motion. See July 6, 2023,

Minute Order. Defendants then filed the Petition.

II.   Factual Background

      A.     Defendants disclose Plaintiffs’ text messages to the press.

      Plaintiffs are former employees of the FBI. Mr. Strzok served on active duty

with the U.S. Army from 1991 to 1995, then continued serving in the U.S. Army

Reserve until reaching his maximum service date. Compl. ¶ 13. After leaving

active duty, he served as a distinguished FBI agent for more than 20 years, where

he investigated some of the most significant threats to the country’s national

security and won awards as one the FBI’s top counterintelligence agents. See id.

¶¶ 15-16. Ms. Page is a former government attorney who served in various roles at

DOJ and FBI. Page Compl. ¶ 13.



                                          9
USCA Case #23-5154       Document #2010800            Filed: 08/02/2023   Page 16 of 42



        In 2017, DOJ’s Office of the Inspector General (“OIG”) initiated a review of

various actions by FBI and DOJ in connection with Secretary Clinton’s use of a

private email server (the “Midyear Exam”). As part of this review, OIG identified

potentially “political” text messages that Plaintiffs had exchanged on their FBI-

issued devices, including text messages referencing Mr. Trump and other political

figures. After OIG provided the messages to the FBI, Mr. Strzok was assured by

the FBI’s leadership, including Deputy Director Bowdich (who later fired him),

that while Strzok would likely be “scathed” and that some of his actions might

“splash” on the Bureau, Strzok would eventually return to an operational role. See

SA82.

        On December 12, 2017, Defendants invited a group of reporters to Main

Justice to review and report on Plaintiffs’ private text messages, which were still

under review by OIG. The reporters were not permitted to make copies of the text

messages or remove them from the building, and they were instructed not to identify

DOJ as their source. See Dkt. 36-13. Mr. Trump and his allies immediately seized

on the text messages as evidence of political bias.

        In June 2018, OIG completed its review and issued a report, and the FBI

agreed with OIG’s conclusions that none of the investigative steps OIG had

reviewed were “in any respect[] the result of bias or improper considerations” and

that “there was no evidence of bias or other improper considerations affecting the



                                         10
USCA Case #23-5154MATERIAL
                    Document UNDER
                             #2010800SEAL DELETED
                                          Filed: 08/02/2023               Page 17 of 42



handling of the Midyear Exam (MYE) investigation.”4 By then, however, six

months had passed since the December 12, 2017 disclosure of Plaintiffs’ text

messages, and it was too late to reverse its effects.

      B.     Trump launches his campaign to destroy Plaintiffs’ reputations
             and get Strzok fired.

      Following Defendants’ disclosure of the text messages, President Trump

launched an extensive campaign that pressured DOJ and FBI to fire Strzok. Trump

accused Strzok of being a member of the “deep state” and engaging in a “witch

hunt” against Trump, as well as committing “treason” and attempting a coup.

Compl. ¶ 47.

      President Trump met with FBI Director Wray and Attorney General

Sessions. As one news report stated, Trump “sharply questioned” Attorney

General Sessions and FBI Director Wray “during a White House meeting on

January 22 about why” Strzok and Page were still in their jobs and “pressed” Wray

and Sessions to “uncover derogatory information within the FBI’s files.” Compl.

¶ 45. The FBI produced a                       in this litigation corroborating that

Director Wray was scheduled to attend

                          . See SA125. And Trump reportedly met with Sessions



4
 Office of the Inspector Gen., U.S. Dep’t. of Justice, A Review of Various Actions
by the FBI and DOJ in Advance of the 2016 Election, Attachment B at 1, 2 (June
2018) https://www.justice.gov/file/1071991/download.

                                          11
USCA Case #23-5154       Document #2010800            Filed: 08/02/2023     Page 18 of 42
                    MATERIAL UNDER SEAL DELETED


again the next day “and even more aggressively advocated that Strzok and Page be

fired.” Compl. ¶ 45.

      Director Wray’s memory of these meetings is             . He recalled a

                                     He did not recall the

                                       and while he recalled that

                                                                          , Trump



                              . Wray Dep. 14, 17-19, 22, A103-04, 107-09. Wray

emphasized during his deposition that his memory

                       . Id. 11, A101.

      In February 2018, Trump again met with Attorney General Sessions. Notes

of the meeting reflect a discussion of “- Investigations / - Firing love birds, /

McCabe? / - Trust?” See Kelly Decl. ¶ 7, Dkt. 115-1 at 17 of 30. “President

Trump generally disapproved of note taking in meetings” and was concerned “that

the notes might later be used against him.” Id. ¶ 10. Thus, much of what was said

in these meetings is obscured by the limited recollections of attendees. General

Kelly was unable to “recall and date most of the statements” in which President

Trump made clear that “he wanted to see Mr. Strzok fired,” “questioned whether

investigations by the Internal Revenue Service or other federal agencies should be




                                           12
USCA Case #23-5154MATERIAL
                    Document UNDER
                             #2010800SEAL DELETED
                                          Filed: 08/02/2023              Page 19 of 42



undertaken into Mr. Strzok and/or Ms. Page,” and “questioned whether Mr. Strzok

and Ms. Page should have their security clearances revoked.” See id. ¶¶ 1, 4-6.

      President Trump also tweeted frequently about Plaintiffs and their continued

employment at the FBI. For example, on May 7, 2018, Trump tweeted “Lisa Page,

who may hold the record for the most emails in the shortest period of time (to her

Lover, Peter S), and attorney Baker, are out at the FBI as part of the Probers

getting caught? Why is Peter S still there? What a total mess.” Compl. ¶ 46. On

June 5, he referenced “Strzok-Page, the incompetent & corrupt FBI lovers” and

accused them of “SPYGATE.” @RealDonaldTrump, Twitter (June 5, 2018),

https://tinyurl.com/2hevr5du.

      Following the publication of OIG’s Midyear Exam report on June 14, 2018,

OIG formally referred Mr. Strzok and other unnamed FBI employees who had sent

anti-Trump messages to the FBI’s Office of Professional Responsibility for

discipline, despite the report’s finding that “no evidence of bias or other improper

considerations” affected the investigation. OIG observed that the problem of FBI

employees sending political or inappropriate text messages was

             and that

                                          and even then



See SA73. Yet, OIG and OPR proceeded with the disciplinary process against



                                         13
USCA Case #23-5154        Document #2010800          Filed: 08/02/2023       Page 20 of 42
                      MATERIAL UNDER SEAL DELETED


only

           .5 OIG identified Strzok and Page by name in its Midyear Exam report.

The other employees remained unnamed,

                                                         . See, e.g., Will Dep. Ex.

73, SA53-72; see also SA126-36.6

        Within hours after a briefing from DOJ officials on the OIG report, President

Trump spoke on the North Lawn of the White House, stating:

               I’ll tell you what — you’re asking me about Peter Strzok
               being fired. I am amazed that Peter Strzok is still at the
               FBI, and so is everybody else that read that report. And
               I’m not even talking about the report; I’m talking about
               long before the report. Peter Strzok should have been fired
               a long time ago, and others should have been fired.

Compl. ¶ 47. The FBI proposed firing Mr. Strzok hours later. Trump’s attacks

continued throughout the summer of 2018. For example, in early August, Trump

tweeted that Strzok, “should never, ever [have] been allowed to … remain in the

FBI[.]” Id. ¶ 46.




5
    OIG’s investigations also identified pro-Trump and anti-Clinton messages,
                                                    .
6
 Discovery has shown that numerous FBI employees who engaged in racist conduct
or used their FBI devices for open political advocacy received short suspensions or
a letter of censure. For example, multiple employees who hung
                                        . Will Dep. 403-06, SA34-37.

                                           14
USCA Case #23-5154        Document #2010800        Filed: 08/02/2023    Page 21 of 42
                  MATERIAL UNDER SEAL DELETED


      C.     Trump’s efforts succeed when the FBI reverses its independent
             disciplinary office’s suspension of Strzok in an unprecedented
             move.

      Mr. Strzok had a hearing before OPR Assistant Director Candice Will in

July 2017. As the long-time head of OPR, she was the appointed “deciding

official” for Mr. Strzok’s penalty. She had

                 and

               Will Dep. 30, SA3.

      Ms. Will accepted a “‘last chance’ adjudication agreement” under which Mr.

Strzok forfeited his appellate rights for “a suspension of 60 calendar days” and

modification to the charged offenses. Dkt. 30-6. The agreement stated, “the OPR

Assistant Director’s decision will constitute the FBI’s FINAL decision in this

matter, unless the matter is reopened based on credible evidence of a violation of

this agreement.” Id. Ms. Will’s “final disposition” was dated August 8, 2018, and

mailed the following day. Dkt. 30-5. OPR records indicate that at that point, the

disciplinary action was           Will Dep. 282, SA22.

      In an unprecedented move, Mr. Bowdich then reversed Ms. Will’s final

decision. Last chance agreements were an established final disciplinary outcome

at the FBI, and “such agreements have been used throughout the federal




                                         15
USCA Case #23-5154MATERIAL
                    Document #2010800
                             UNDER SEAL Filed:
                                        DELETED08/02/2023                Page 22 of 42



government.”7 Ms. Will, who headed OPR for nearly 15 years, was

                                . Will Dep. 361, SA28.

      The critical factual dispute is whether Mr. Bowdich’s decision to overturn

Mr. Strzok’s last chance agreement was affected by Strzok’s privately expressed

political views or whether, as the FBI maintains, Bowdich’s decision was based

strictly on violations of FBI policy. Former President Trump has acknowledged

his hand in Strzok’s termination. Mr. Trump stated in December 2019 that he

considered “getting rid” of the FBI employees who led the Crossfire Hurricane

investigation one of his “greatest achievements.” Dkt. 36-2 at 31. In January

2020, at a press conference, he said he thought what he had done “with the

insurance policy, with the horrible statements made between Strzok and Page” was

“going to go down as one of the greatest things [he had] done for our country.”8

He took credit for having “fired Comey, that whole group” in December 2021, and

in February 2023 appeared on a radio show where he said:

             Don’t forget, these guys, before I even got in, they were
             spying on my campaign, long before I got in. This didn’t
             just happen. And if I didn’t fire Comey, and if I didn’t
             fire McCabe and Strzok and Page and all of that scum

7
 Dep’t of Justice Office of the Inspector Gen., Review of the Federal Bureau of
Investigation’s Adjudication Process for Misconduct Investigations, 21-127
(September 2021), https://oig.justice.gov/sites/default/files/reports/21-127.pdf.
8
 Donald Trump Holds a Press Conference Before Leaving Davos, YouTube (Jan.
22, 2020), https://www.youtube.com/watch?v=xj4uCDNmg9Q (emphasis
supplied, recording at 39:30).

                                         16
USCA Case #23-5154MATERIAL
                    Document #2010800
                             UNDER SEAL Filed:
                                        DELETED08/02/2023                 Page 23 of 42



             that was in there, you would have had, they were trying to
             do an overthrow. And they, just think of it. They spied on
             my campaign from the time I came down the escalator.
             And here I am, innocently running to do something great,
             and I have this garbage that’s in there headed up by Comey
             and the group. They spied on my campaign, and I got rid
             of them all. I got rid of them all.

Dkt. 105 at 2. The vast disparity between Strzok’s firing and the lesser or non-

existent penalties imposed on similarly situated employees who sent

             who sent anti-Trump messages but whom Defendants did

          suggests that FBI indeed capitulated to Trump’s demands.

      Mr. Trump also took the time to imitate Mr. Strzok orgasming while reciting

his messages before thousands of fans at campaign events. See, e.g., FoxNews,

Trump viciously mocks Strzok, Page at Minneapolis rally, YouTube (Oct. 10,

2019) (over 293,000 views), https://tinyurl.com/4uvxknw6; C-span, President

Trump Rally in Battle Creek, Michigan, C-SPAN (Dec. 18, 2020),

https://tinyurl.com/2cxcx369 (recording at 1:05:40). He personally initiated a

lawsuit against Mr. Strzok, Ms. Page, and others after leaving office. And he has

attacked Plaintiffs and their families numerous times in media appearances, on

social media, and at campaign events. See, e.g., @Real_RobN, Twitter (Oct. 1,

2022, 11:25 PM), https://tinyurl.com/krmdxdwa.




                                         17
USCA Case #23-5154        Document #2010800             Filed: 08/02/2023     Page 24 of 42



                   REASONS FOR DENYING THE PETITION

I.     Defendants cannot meet the high bar of showing that the district court’s
       carefully tailored discovery orders amounted to a judicial usurpation of
       power.

       Defendants fail to show that they are entitled to the “drastic and

extraordinary” remedy of mandamus, which is reserved for “really extraordinary

causes.” In re Flynn, 973 F.3d 74, 78 (D.C. Cir. 2020) (en banc); see also In re

Cheney, 544 F.3d 311, 313 (D.C. Cir. 2008) (“[M]andamus is justified only in

exceptional circumstances amounting to a judicial usurpation of power.”). A

mandamus petition must be denied unless: (1) the petitioner satisfies its “burden of

showing that [its] right to issuance of the writ is ‘clear and indisputable’”; (2) “the

issuing court, in the exercise of its discretion, [is] satisfied that the writ is

appropriate under the circumstances”; and (3) the petitioner has “no other adequate

means to attain the relief.” Cheney v. U.S. Dist. Ct. for D.C., 542 U.S. 367, 380-81

(2004). “All three requirements must be satisfied, and the absence of any one

compels denial of the writ.” In re Flynn, 973 F.3d at 78.

       A.     The district court acted well within its authority to manage
              discovery matters.

       Defendants do not come close to showing that they have a “clear and

indisputable” right to issuance of the writ, nor have they established that it is

“appropriate under the circumstances” to overturn the district court’s careful and

well-reasoned discovery orders.


                                            18
USCA Case #23-5154      Document #2010800           Filed: 08/02/2023    Page 25 of 42



      The record shows that the district court, far from abusing its discretion or

engaging in “a judicial usurpation of power,” went to great lengths to address

Defendants’ concerns and tailor the requested discovery to the demonstrated need.

The court sought extensive submissions from the parties, held multiple hearings,

and thoroughly considered the parties’ arguments, ultimately authorizing the

narrow, time-limited deposition of Mr. Trump in February 2023. Since that ruling,

Defendants have sought additional orders to enforce their preferred timing and

sequence for the Wray and Trump depositions, and the court has largely granted

those requests. See May 12 and 22, 2023, Minute Orders. For example,

Defendants succeeded in delaying Mr. Trump’s deposition until after Director

Wray’s, postponing the Wray deposition for several weeks past the court-ordered

deadline, and derailing the May 24 date for the Trump deposition.

      Having postponed Mr. Trump’s deposition for as long as they could,

Defendants now seek to quash it through mandamus review. But they provide no

reason—and certainly not a “clear and indisputable” one—to second-guess the

district court’s judgment that Mr. Trump is an important third-party witness with

unique knowledge of the relevant events. The public record and evidence

developed in this litigation confirm that Mr. Trump has long been personally

involved in matters relating to Mr. Strzok, Ms. Page, and their text messages. See,




                                         19
USCA Case #23-5154       Document #2010800           Filed: 08/02/2023    Page 26 of 42



e.g., Compl. ¶¶ 44-49; Page Compl. ¶¶ 4, 34-60, 77-79.9 The district court acted

well within its authority in authorizing Plaintiffs to probe this involvement,

including Mr. Trump’s communications with Defendants, his attendance at certain

meetings, and his handling and retention of the text messages. Feb. 23, 2023, Hr’g

Tr. 15-16, A21-22.

      In short, the district court is ably managing the discovery process in this

litigation, and the Court should reject Defendants’ invitation to intervene. See In

re Cheney, 544 F.3d 311 at 313 (“[G]iven the deference [this Court] owe[s] trial

courts in the management of their cases, that judgment is not remotely one from

which defendants have an indisputable right to relief.” (citing Berry v. Dist. of

Columbia, 833 F.2d 1031, 1037 n.24 (D.C. Cir. 1987)).

      B.     Mandamus is unavailable where, as here, there is no showing of
             irreparable harm.

      In evaluating whether a party has satisfied the high threshold for mandamus,

courts consider “whether the party seeking the writ has any other adequate means,

such as a direct appeal, to attain the desired relief,” and “whether that party will be

harmed in a way not correctable on appeal.” In re Exec. Off. of the President, 215



9
 Apart from a conclusory footnote, the Petition largely ignores the Privacy Act
claims. Pet. 32 n.2. Regardless, the district court authorized “the plaintiffs” to
depose Mr. Trump, and the permitted topics include matters that are relevant to
both sets of claims. See Dkt. 111 at 6-7 (addressing “Ms. Page’s Interest”).


                                          20
USCA Case #23-5154       Document #2010800           Filed: 08/02/2023    Page 27 of 42



F.3d 20, 23 (D.C. Cir. 2000). “In the normal course, … mandamus is not available

to review a discovery order,” id., and “[a] petition for a writ of mandamus ‘may

never be employed as a substitute for appeal,’” In re Flynn, 973 F.3d at 78

(quoting Will v. United States, 389 U.S. 90, 97 (1967)).

      “When ordinary appellate review … remains available, the writ may not

issue unless the petitioner identif[ies] some irreparable injury that will go

unredressed if he does not secure mandamus relief.” Id. at 79. Here, the

government relies on a separation-of-powers rationale, see Pet. 21-25, and it

therefore must show that “the District Court’s actions constituted an unwarranted

impairment of another branch in the performance of its constitutional duties,” In re

Flynn, 973 F.3d at 78-79.

      As the Petition reveals, however, Defendants have no serious argument that

the two-hour deposition of Mr. Trump would impair the executive branch. 10 Mr.

Trump is not currently responsible for any government function, and the narrow



10
  The absence of irreparable harm distinguishes this case from those in which
“mandamus relief may be appropriate to challenge a District Court’s discovery
order,” such as cases involving the disclosure of privileged information. In re
Exec. Off. of the President, 215 F.3d at 23; see, e.g., In re Kellogg Brown & Root,
Inc., 796 F.3d 137 (D.C. Cir. 2015) (protecting privileged information); In re
Papandreou, 139 F.3d 247 (D.C. Cir. 1998) (addressing immunity concerns); In
re Sealed Case No. 98-3077, 151 F.3d 1059 (D.C. Cir. 1998) (protecting
confidential grand jury information). In such circumstances, “appeal after final
judgment is obviously not adequate,” since “the cat is out of the bag.” In re
Papandreou, 139 F.3d at 251.

                                          21
USCA Case #23-5154       Document #2010800           Filed: 08/02/2023    Page 28 of 42



areas in which he might testify about his past actions do not implicate executive

privilege. By explicitly representing that it would not assert executive privilege

over any of the deposition topics, the government affirmatively relinquished that

avenue to relief. See Cheney, 542 U.S. at 379 (laches “might bar a petition for a

writ of mandamus”). In addition, Mr. Trump was personally involved in the events

underlying Plaintiffs’ claims, and he has demonstrated greater availability for civil

litigation than the typical former president, even suing Mr. Strzok and Ms. Page.

As the district court correctly recognized, permitting a two-hour deposition under

these unique circumstances will hardly open the floodgates to discovery from high-

ranking executive-branch officials.

       Defendants posit that “[t]he threat of having to spend their personal time and

resources preparing for and sitting for depositions could hamper and distract

officials from their duties while in office,” Pet. 24 (quoting In re U.S. Dep’t of

Educ., 25 F.4th 692, 705 (9th Cir. 2022)), but the district court already considered

and accounted for that factor, see Feb. 23, 2023, Hr’g Tr. 14, A20. Defendants’

other arguments consist of little more than generalizations about executive-branch

interests.

       Tellingly, despite the government’s professed concerns about the

impairment of executive-branch functioning, it did not seek reconsideration of the

district court’s February 2023 order as to the deposition of Director Wray—a



                                          22
USCA Case #23-5154       Document #2010800            Filed: 08/02/2023     Page 29 of 42



current agency head with far greater official demands on his time. And earlier, in

attempting to forestall the deposition of Mr. Trump, Defendants suggested that

Plaintiffs should have to depose certain high-ranking officials twice. See Dkt. 94 at

1. This history suggests that Defendants’ true goal is to block or delay Mr.

Trump’s testimony, not to ease the burdens on the executive branch.

      Because Defendants cannot show that Mr. Trump’s deposition would cause

any harm—let alone irreparable harm—to the executive branch’s ability to fulfill

its constitutional duties, mandamus is unavailable. See In re Flynn, 973 F.3d at 79;

id. at 101 (Rao, J., dissenting) (“The mandamus standard … treats the harm and

adequate remedy as two sides of the same coin.”).

II.   It is not clear and indisputable that the “extraordinary circumstances”
      test applies.

      It is not indisputable that extraordinary circumstances are necessary to

compel the limited deposition of a former official under these circumstances. And

even if that standard applied, it was satisfied here, as the district court correctly

concluded. See Section III, infra. The former president’s repeated public claims

that he is responsible for Mr. Strzok’s firing, which are consistent with other

reliable evidence (including contemporaneous notes), are—and hopefully will

remain—extraordinary.

      Regardless, for three reasons, it is not “clear and indisputable” that the high

standard under which Plaintiffs prevailed in the district court applies. First, the


                                           23
USCA Case #23-5154       Document #2010800            Filed: 08/02/2023     Page 30 of 42



deposition does not seek the former president’s reasons for taking an official action

within his purview; rather, it seeks to determine whether he improperly influenced

official action by the FBI Deputy Director. Second, where the government has

waived executive privilege, the testimony of a former official does not present

separation-of-powers concerns. Deposing a former official does not burden or

interfere with government operations, and the government has no stake in shielding

a former official from a two-hour deposition on carefully narrowed topics. Third,

no binding precedent or persuasive authority clearly and indisputably establishes

that extraordinary circumstances are required to depose a former official (although,

as the district court determined, Plaintiffs prevail even under that standard).

      A.     The former president was not the official decisionmaker, and the
             deposition is not about his deliberative process.

      The rule the government asks this Court to enforce does not clearly and

indisputably apply. This Court derived the rule it described in Simplex Time

Recorder Co. v. Secretary of Labor, 766 F.2d 575 (D.C. Cir. 1985), from United

States v. Morgan, 313 U.S. 409 (1941), where the Supreme Court approved an

administrative court’s exercise of its discretion in refusing to call the sitting

Secretary of Labor as a witness to testify about “the process by which he reached

the conclusions of his order, including the manner and extent of his study of the

record and his consultation with subordinates.” Id. at 422. Morgan concerned

protecting from discovery the deliberative process of the decisionmaker beyond the


                                           24
USCA Case #23-5154      Document #2010800          Filed: 08/02/2023    Page 31 of 42



reasons stated for the decision in the agency record. But here, the former president

was not the appropriate decisionmaker—FBI employees were. The question is

whether the former president played a role, as he has publicly claimed to have

done, in a decision in which the president rightly had no part. Moreover, in

Simplex Time Recorder, the officials had “no personal knowledge of the facts

surrounding th[e] particular case,” and there was “no urgent or proper need” to

question them. 766 F.2d at 580, 587.11

      B.     By declining to assert the privileges that safeguard the separation
             of powers, Defendants have effectively conceded that no
             separation-of-powers concerns exist.

      The Petition gestures towards separation-of-powers concerns but fails to

explain how they will be impaired by the former president’s deposition. The

government had the opportunity to assert the deliberative process privilege and the



11
   The government’s other citations do not further its cause. See In re Cheney, 544
F.3d at 314 (“no need” to depose current high-ranking official where information
“could be obtained elsewhere”); In re Papandreou, 139 F.3d at 254 (there were
“no findings by the district court explaining why [the] depositions . . . [were]
necessary,” “lots of indications that they [were] not,” and “[a]lternatives seem[ed]
ample”); Peoples v. Dep’t of Agriculture, 427 F.2d 561, 567 (D.C. Cir. 1970)
(discussing district court’s wide latitude to manage discovery). Defendants also
rely on the Supreme Court’s stay of a deposition of the Secretary of Commerce in
litigation over the decision to add a question to the decennial census. See Pet. 21,
23 (citing stay ruling). It is far from clear, however, that the Supreme Court’s stay
order was based on the standard for deposing a high-ranking official rather than the
more general Overton Park doctrine requiring a strong showing of bad faith before
taking any discovery outside the administrative record. Dep’t of Commerce v. New
York, 139 S. Ct. 2551, 2573-74 (2019) (quoting Overton Park).

                                         25
USCA Case #23-5154      Document #2010800           Filed: 08/02/2023    Page 32 of 42



presidential communications privilege, both of which protect executive branch

interests, but declined to do so. In re Sealed Case, 121 F.3d 729, 743 (D.C. Cir.

1997) (presidential communications privilege is “inextricably rooted in the

separation of powers under the Constitution”). The Executive Office of the

President and Defendants made that choice after being given a month to carefully

consider the issue. Dkt. 108. They then waived the privileges by permitting

testimony, to the limited extent of the deponents’ recollection, about the identified

topics.12

       C.    No binding precedent or persuasive authority clearly and
             indisputably establishes that extraordinary circumstances are
             required to depose a former official.

       Even setting aside the government’s executive privilege position, which

defeats its reliance on Morgan and its progeny, there is no clear and indisputable

rule that the “extraordinary circumstances” standard applies to former officials.

This Court has held that “[t]he duties of high-ranking executive officers should not

be interrupted by judicial demands for information that could be obtained

elsewhere.” In re Cheney, 544 F.3d at 312. But the information sought here

cannot be obtained elsewhere, and no official actions will be “interrupted.”




12
  The former president received notice and also elected not to assert executive
privilege. See Dkt. 108.

                                         26
USCA Case #23-5154      Document #2010800            Filed: 08/02/2023    Page 33 of 42



      In the Fifth Circuit’s decision in In re Murthy, No. 22-30697 (5th Cir. Jan. 5,

2023), the parties appear not to have raised the applicability of the standard as to

the former White House press secretary, and the decision rests on other grounds.

And in Lederman v. New York City Department of Parks and Recreation, 731 F.3d

199 (2d Cir. 2013), the Second Circuit affirmed, on direct appeal, the entry of

protective orders blocking the depositions of the former Mayor and Deputy Mayor

without addressing whether the extraordinary circumstances rule should extend to

former officials.

      In re U.S. Department of Education also does not support the mandamus

relief the government seeks here. See 25 F.4th 692 (9th Cir. 2022).13 The

opinion—issued by a divided panel—was motivated by the need to protect from

unnecessary discovery the official’s justified participation in her own agency’s

deliberative process. To hold that the extraordinary circumstances standard

applied, the Ninth Circuit relied on dicta from a Federal Circuit decision: “We note

that the process-inquiry rationale of Morgan and its successors hardly becomes

inapplicable upon an official’s departure from [her] office.” Id. at 705 (citing In re




13
  The mandamus standard that the Ninth Circuit applied, based on five non-
exhaustive factors, differs from the mandamus test the Supreme Court and this
Court apply.


                                          27
USCA Case #23-5154      Document #2010800           Filed: 08/02/2023   Page 34 of 42



United States, 542 F. App’x 944, 949 (Fed. Cir. 2013)).14 And the majority’s

explanation of why the extraordinary circumstances standard extends to former

officials was not beyond reproach—it was not even convincing. See id. at 707-08

(9th Cir. 2022) (Paez, C.J., dissenting) (“The majority dismisses the distinction

between a current and former secretary in four brief sentences when, in fact, the

rationales behind the ‘extraordinary circumstances’ doctrine do not have the same

force in the context of a former official.”). The government’s cases do not

articulate a clear and indisputable rule that controls, especially because Mr. Trump

was not the official decisionmaker and executive privileges do not apply.

      To the contrary, this Court has confirmed that subjecting the President to

discovery is different in kind from subjecting a former president to discovery. See

Trump v. Mazars USA, LLP, 39 F.4th 774 (D.C. Cir. 2022). As it noted in

addressing a congressional subpoena for the former president’s financial records:

“Now that President Trump is out of office, any burdens the Committee’s

subpoena imposes on him will no longer distract the head of the Executive Branch.

That is significant in view of the Supreme Court’s emphasis on avoiding




14
  The Federal Circuit decision was clear that it was not deciding the standard for
deposing a former official. See In re United States, 542 F. App’x at 949.


                                         28
USCA Case #23-5154        Document #2010800           Filed: 08/02/2023   Page 35 of 42



unnecessary intrusion into the operation of the Office of the President.” Id. at

806.15

III.     Regardless, extraordinary circumstances justify the limited deposition
         of Mr. Trump.

         Even assuming the “extraordinary circumstances” standard applies,

Defendants cannot show that the district court clearly abused its discretion in

determining that this case presents extraordinary circumstances.

         The decision to overrule the last chance agreement and fire Strzok was

extraordinary on its face. The Deputy Director’s rejection of the agreement

accepted by OPR Assistant Director Will was unprecedented. The record does not

identify any comparable discipline of FBI agents for privately expressing political

views on official devices (despite numerous employees who did so). The action is

also extraordinary because of Trump’s repeated public assertions that he got Strzok

fired, the presence of contemporaneous records showing that Trump discussed

firing him, and Trump’s yearslong campaign of public attacks on Plaintiffs, both as

a sitting president and since.

         The district court appropriately accepted the former president’s public

claims that he was responsible for Mr. Strzok’s firing for the purposes of its ruling,



15
  The government cites In re Clinton, 973 F.3d 106, 112-13 (D.C. Cir. 2020), to
suggest that their preferred rule applies to former officials. That opinion does not
even mention “extraordinary circumstances.”

                                           29
USCA Case #23-5154MATERIAL
                    Document #2010800
                             UNDER SEAL Filed:
                                        DELETED08/02/2023                   Page 36 of 42



and Mr. Strzok is entitled to elicit that testimony and offer it for its truth. This

inquiry is especially appropriate given that Trump’s claims are corroborated by

evidence that he discussed the matter with DOJ officials. The exact basis for

Trump’s public statements taking credit for Strzok’s termination, of course, can be

determined only by asking him under oath, and the district court was therefore

indisputably correct that his deposition is “likely to lead to relevant evidence that

can’t be obtained elsewhere.” Feb. 23, 2023, Hr’g Tr. 13, A19.

      Extensive evidence indicates that Trump’s testimony will be critical for

Plaintiffs. Reputable reports asserted that Trump pressed for Strzok’s termination

during multiple meetings in January 2018. Contemporaneous notes show that he

discussed “firing [the] love birds” at another meeting. The recollections of

deponents so far have been incomplete. See, e.g., Rosenstein Dep. 379, SA76




                                                                                       .

The district court’s decision to allow a limited two-hour deposition in these unique

circumstances does not open the door to routine depositions of sitting or former

presidents or other senior officials.




                                           30
USCA Case #23-5154MATERIAL
                    Document UNDER
                             #2010800SEAL DELETED
                                          Filed: 08/02/2023             Page 37 of 42



      It is also extraordinary that the former president’s personal conduct since

leaving office so clearly demonstrates that he has two hours to spare for this

deposition. His continued attacks on Plaintiffs, his public statements about the

events at issue, and his decision to sue Plaintiffs cannot reasonably be considered

ordinary conduct.

      Moreover, even setting aside the open questions about how extensively

Trump personally pressed for Strzok’s termination during the identified Oval

Office meetings, it is undisputed that Trump

                        id. at 393, SA80, and his “[a]nimus and responsibility for

the adverse action can both be attributed to” the FBI if Strzok’s termination was

“the intended consequence” of his actions. Staub v. Proctor Hosp., 562 U.S. 411,

419 (2011); see also Forsyth Cnty., Ga. v. Nationalist Movement, 505 U.S. 123,

135 (1992) (even public speech cannot be suppressed “simply because it might

offend a hostile mob”). Defendants are not entitled to quash relevant discovery on

this issue merely because their employees do not recall a specific directive from

Trump. See Staub, 562 U.S. at 419 (“The decisionmaker’s exercise of judgment

is also a proximate cause of the employment decision, but it is common for injuries

to have multiple proximate causes.”). If anything, that Mr. Trump’s testimony is

likely to contradict the testimony of Defendants’ employees highlights its

importance to this case. The district court was correct to allow the narrow and



                                         31
USCA Case #23-5154       Document #2010800           Filed: 08/02/2023    Page 38 of 42



highly relevant discovery at issue. See Cruz v. McAleenan, 931 F.3d 1186, 1193

(D.C. Cir. 2019).

      This case could not be more different from the only in-circuit decision the

Petition cites granting mandamus to block a deposition of a sitting official for a

clear and indisputable failure to show extraordinary circumstances. In the Vilsack

case, see In re United States, No. 14-5146 (D.C. Cir. July 24, 2014), the district

court ordered a deposition of a sitting member of the Cabinet before requiring, and

as a substitute for, other discovery in a private diversity action, see Reply ISO

Petition for a Writ of Mandamus 1-2, Doc. #1501503 (July 9, 2014) (“sole

purpose” of the Secretary’s deposition was to narrow overall scope of discovery).

That is simply not comparable to the facts here, where Plaintiffs have taken

extensive discovery and Mr. Trump’s public statements show he has unique

knowledge that cannot be obtained elsewhere.16

      This Court’s earlier decision in In re Cheney, 544 F.3d 311, illustrates why

the district court’s order fell well within its range of discretion. There, the Court



16
  The out-of-circuit cases the government cites also fail to show that it is clearly
and indisputably entitled to the writ. In Murthy, the Fifth Circuit noted that the
parties agreed “that Psaki’s deposition was unnecessary at [that] time,” but the
district court authorized it anyway. Murthy Order at 4. In the Department of
Education case, the Ninth Circuit held that the plaintiffs had established the
agency’s bad faith, and the deposition was concededly unnecessary. 25 F.4th at
703-04. Further, the Ninth Circuit noted that, as in this Court’s Vilsack case, the
plaintiffs had not even tried alternative means. Id. at 704-05.

                                          32
USCA Case #23-5154      Document #2010800           Filed: 08/02/2023    Page 39 of 42



ruled that the scope of the deposition the district court had authorized to address

the Vice President’s record retention policies was “appropriately narrow,” 544

F.3d at 314. However, it ordered the substitution of the Vice President’s deputy

Chief of Staff for the Chief of Staff as a deponent because the lower-ranking

official was “more logically suited to clearing up lingering questions.” Id.

      The government has not (and cannot) point in this case to a viable substitute

for the former president’s testimony. Only the former president himself can

explain his statements about Plaintiffs, including his statements taking credit for

Mr. Strzok’s termination. These circumstances are extraordinary, and the district

court acted well within its discretion in reaching that conclusion.

      In any event, sui generis fact patterns layered atop unsettled legal issues are

not the stuff of mandamus. In re al-Nashiri, 791 F.3d 71, 82-86 (D.C. Cir. 2015)

(“Even if we ultimately agreed with [the petitioner] on the merits, mandamus

would not lie because the answer was hardly ‘clear’ ex ante.”) (quotation omitted).

                                  CONCLUSION

      For the reason stated above and those set forth in the district court orders

under review, the Petition should be denied.




                                          33
USCA Case #23-5154       Document #2010800       Filed: 08/02/2023   Page 40 of 42



 Dated: August 2, 2023                  Respectfully submitted,

 /s/ Amy Jeffress                       /s/ Aitan D. Goelman
 Amy Jeffress                           Aitan D. Goelman
 Robert J. Katerberg                    Christopher R. MacColl
 Kaitlin Konkel                         ZUCKERMAN SPAEDER LLP
 ARNOLD & PORTER KAYE SCHOLER           1800 M Street, NW, Suite 1000
 LLP                                    Washington, DC 20036
 601 Massachusetts Avenue NW            (202) 778-1800
 Washington, DC 20001                   agoelman@zuckerman.com
 (202) 942-5000                         cmaccoll@zuckerman.com
 Amy.Jeffress@arnoldporter.com
 Robert.Katerberg@arnoldporter.com      Richard A. Salzman
 Kaitlin.Konkel@arnoldporter.com        HELLER, HURON, CHERTKOF &
                                        SALZMAN PLLC
 counsel for Lisa Page                  1010 Wayne Ave., Suite 510
                                        Silver Spring, MD 20910
                                        (202) 293-8090
                                        salzman@hellerhuron.com

                                        counsel for Peter Strzok




                                       34
USCA Case #23-5154     Document #2010800           Filed: 08/02/2023   Page 41 of 42



   CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT,
  TYPEFACE REQUIREMENTS, AND TYPE-STYLE REQUIREMENTS

      1.    This document complies with the word limit of Fed. R. App. P.

21(d)(1) because, excluding the parts of the document exempted by Fed. R. App.

P. 32(f), this document contains 7777 words.

      2.    This document complies with the typeface requirements of Fed. R.

App. P. 32(a)(5) and the type-style requirements of Fed. R. App. P. 32(a)(6)

because this document has been prepared in a proportionally spaced typeface using

Microsoft Word for Microsoft 365 in Times New Roman 14-point font.

                                               s/ Aitan D. Goelman
                                               Aitan D. Goelman




                                        35
USCA Case #23-5154        Document #2010800         Filed: 08/02/2023    Page 42 of 42



                           CERTIFICATE OF SERVICE

      I hereby certify that, on August 2, 2023, I electronically filed the foregoing

document via the Court’s CM/ECF system.

      I further certify that, on August 2, 2023, the foregoing document was served

on the following counsel via the Court’s CM/ECF system:

Brian M. Boynton
Mark R. Freeman
Gerard Sinzdak
Martin Totaro
Attorneys, Appellate Staff
Civil Division, Room 7525
U.S. Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530
brian.m.boynton@usdoj.gov
mark.freeman2@usdoj.gov
gerard.j.sinzdak@usdoj.gov
martin.v.totaro@usdoj.gov

Counsel for Petitioners

      I further certify that, on August 2, 2023, two copies of the foregoing

document were printed and will be delivered to the Honorable Amy Berman Jackson,

United States District Judge for the District of Columbia.



                                               s/ Aitan D. Goelman
                                               Aitan D. Goelman




                                         36
